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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Civil Action No. 21-cv-02595-NYW-NRN

   CHARLES WILLIAMS,

   Plaintiff,

   v.

   COLORADO DEPARTMENT OF CORRECTIONS,

   Defendant.

   DEFENDANT’S PARTIAL MOTION TO DISMISS AMENDED COMPLAINT (ECF NO.
                     10) UNDER FED. R. CIV. P. 12(B)(6)

           Defendant Colorado Department of Corrections (CDOC), through the Colorado Attorney

   General, respectfully submits this motion to dismiss Plaintiff Charles Williams’s Amended

   Complaint (ECF No. 10) under Rule 12(b)(6) of the Federal Rules of Civil Procedure.

                                 CERTIFICATE OF CONFERRAL

           Pursuant to Civ. Practice Standard 7.1B(b), undersigned counsel certifies that she

   conferred with counsel for Plaintiff, who oppose this motion.

                                          INTRODUCTION

           Plaintiff Charles Williams is an individual who was previously incarcerated in the

   CDOC. He initiated this action while incarcerated, alleging that prison officials discriminated

   against him on account of a disability, in violation of the Rehabilitation Act, 29 U.S.C. §§ 702-

   796l, and Title II of the Americans with Disabilities Act (ADA), 42 U.S.C. §§ 12132-12165. The

   Court initially screened this action under 28 U.S.C. § 1915(e) and dismissed it as frivolous;



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   however, the Tenth Circuit reversed and reinstated this action. See Order and Judgment (ECF

   No. 22).

           In his Amended Complaint, Mr. Williams alleges that he suffers from chronic back pain

   and peripheral neuropathy that substantially limit many of his major life activities. Am. Compl.

   ¶ 10 (ECF No. 10). In 2018, a medical staff member allegedly provided Mr. Williams with

   several work and housing restrictions that addressed his chronic back pain and neuropathy,

   including limitations on standing for over two hours and repetitive bending at the waist. Id. ¶ 11.

           Mr. Williams alleges that in the summer of 2019 he was assigned to work in the kitchen

   but was physically incapable of working there. Id. ¶ 12. Mr. Williams allegedly received a

   medical “lay-in” excusing him from kitchen duty for 47 days. Id. ¶ 13. Upon reassignment to the

   kitchen in September 2019, Mr. Williams allegedly filed grievances and submitted kites stating

   he was incapable of working in the kitchen. Id. ¶ 15. He alleges that he reported to the kitchen

   each day for approximately two weeks, provided his list of work restrictions, and was sent back

   to his cell by kitchen staff. Id. ¶ 17.

           On September 21 and 22, 2019, Mr. Williams allegedly made medical emergency

   requests because of back pain, reported to the kitchen on both days, and was turned away both

   days. Id. ¶¶ 19-20. On September 23, 2019, Mr. Williams allegedly made another medical

   emergency request, but he did not report to the kitchen as he had the prior two days because he

   “knew that he would see the doctor that day who would provide him a medical lay-in . . . .” Id.

   ¶ 21. He alleges that he eventually received a lay-in that day; however, three days later an officer

   wrote a grievance against him for failure to work because he did not get the lay-in until several

   hours after he failed to report to work. Id. ¶¶ 26, 29. The grievance filed against him for failure to


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   work allegedly “triggered a reclassification so that he was no longer a ‘medium custody’ prisoner

   and instead a ‘close custody’ prisoner,” and he lost privileges and autonomy. Id. ¶ 27.

           Mr. Williams brings claims against the CDOC for violations of Title II of the ADA the

   Rehabilitation Act. He seeks compensatory damages for unspecified economic losses and for

   “emotional distress, embarrassment, humiliation, loss of enjoyment of life, and other pain and

   suffering on all claims allowed by law . . . .” Id. at 9.

           For the reasons set forth below, Mr. Williams’s claims are barred in part by the statute of

   limitations. Additionally, his claims should be dismissed to the extent he seeks damages for

   mental or emotional injury because such damages are not available under Title II of the ADA or

   the Rehabilitation Act. For these reasons, the CDOC respectfully requests that the Court dismiss

   in part Mr. Williams’s claims.

                                        STANDARD OF REVIEW

           A court may dismiss a complaint for failure to state a claim upon which relief can be

   granted. Fed. R. Civ. P. 12(b)(6). To survive a motion to dismiss, “a complaint must contain

   sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S.

   544, 570 (2007)). The court’s duty is to “determine whether the complaint sufficiently alleges

   facts supporting all the elements necessary to establish an entitlement to relief under the legal

   theory proposed.” Forest Guardians v. Forsgren, 478 F.3d 1149, 1160 (10th Cir. 2007). While

   detailed factual allegations are not required, a plaintiff must assert “more than an unadorned, the-

   defendant-unlawfully-harmed-me accusation.” Iqbal, 556 U.S. at 678. “Factual allegations must

   be enough to raise a right to relief above the speculative level . . . .” Twombly, 550 U.S. at 555.


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           Courts must construe pro se complaints liberally. Gaines v. Stenseng, 292 F.3d 1222,

   1224 (10th Cir. 2002). But the Court has no duty to assume the role of advocate for a pro se

   plaintiff, nor should it supply additional facts or construct a legal theory for the plaintiff.

   Peterson v. Shanks, 149 F.3d 1140, 1143 (10th Cir. 1998)

                                               ARGUMENT

   I.      Mr. Williams’s claims are barred in part by the statute of limitations.

           A claim may be dismissed under Rule 12(b)(6) if the allegations in the complaint show

   that the relief is barred by the applicable statute of limitations. Jones v. Bock, 549 U.S. 199, 215

   (2007); see also id. (quoting Leveto v. Lapina, 258 F.3d 156, 161 (3d Cir. 2001) (“[A] complaint

   may be subject to dismissal under Rule 12(b)(6) when an affirmative defense . . . appears on its

   face”)). Mr. Williams’s Amended Complaint demonstrates that his claims against the CDOC

   concerning assigning him to work in the kitchen and allegedly failing to provide him

   accommodations accrued more than two years before he filed suit. Accordingly, his claims must

   be dismissed to the extent they are premised on those alleged violations.

           Neither the Rehabilitation Act nor Title II of the ADA provides a statute of limitations.

   Accordingly, courts “infer that Congress intended the most analogous state statute of limitations

   to apply.” E.E.O.C. v. W.H. Braum, Inc., 347 F.3d 1192, 1197 (10th Cir. 2003). Colorado law

   provides that a two-year limitation period applies to Rehabilitation Act and Title II ADA claims.

   See § 13-80-102; see also Hughes v. Colo. Dep’t of Corr., 594 F. Supp. 2d 1226, 1235 (D. Colo.

   2009). “In general, . . . claims accrue and the statute of limitations begins to run when the

   plaintiff knows or has reason to know of the existence and cause of the injury which is the basis

   of his action.” Alexander v. Oklahoma, 382 F.3d 1206, 1215 (10th Cir. 2004).


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          Mr. Williams brings this action alleging in part that the CDOC failed to accommodate

   him when it assigned him work in July 2019 that he could not do and did not provide

   accommodations for his alleged limitations. Am. Compl. ¶¶ 44, 52. He alleges that he was then

   fired on or about September 26, 2019 because he did not receive a medical lay-in until several

   hours after he failed to report to work in the morning of September 23, 2019. Id. ¶¶ 26, 29. Mr.

   Williams initiated this action by filing a complaint on September 24, 2021. See Prisoner

   Complaint (ECF No. 1).

          The CDOC does not dispute that, taking the allegations as true solely for purposes of this

   Rule 12(b)(6) motion, his claims based on allegedly being fired on or about September 26, 2019

   may be considered timely. However, to the extent Mr. Williams asserts his claims on grounds

   that the CDOC allegedly discriminated against him and failed to accommodate him when he was

   assigned to work in the kitchen in July 2019 and at any time up to and including September 23,

   2019, his claims are time-barred because they accrued more than two years before he brought

   this action on September 24, 2021. For this reason, the CDOC respectfully requests that the

   Court dismiss Mr. Williams’s claims to the extent they are premised on his assignment to work

   in the kitchen in July 2019 and CDOC’s alleged failure to accommodate him through September

   23, 2019.

   II.    Mr. Williams’s claims for damages for emotional or mental injury should be
          dismissed because are not recoverable under the Rehabilitation Act or Title II of the
          ADA.

          Mr. Williams seeks damages primarily for emotional or mental injury, namely “for

   emotional distress, embarrassment, humiliation, loss of enjoyment of life, and other pain and

   suffering . . . .” Am. Compl. at 15 (ECF No. 10). Based on a recent Supreme Court case, these


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   sorts of mental and emotional damages are not authorized under the Rehabilitation Act or, by

   extension, Title II of the ADA.

          In Cummings v. Premier Rehab Keller, P.L.L.C., --- U.S. ----, 142 S. Ct. 1562, 1571

   (2022), the Supreme Court considered the types of remedies available under the Rehabilitation

   Act, 1 as well as the Affordable Care Act (the ACA), and specifically, whether those laws permit

   a plaintiff to recover damages for mental or emotional injury. Id. at 1565, 1568. Noting that both

   statutes were silent on this question, the Supreme Court explained that because the laws

   conditioned receipt of federal funds on the waiver of Eleventh Amendment sovereign immunity

   by state governments accepting those funds, they essentially should be seen as establishing a

   contractual type of relationship between the federal and state governments. Id. at 1570.

   Therefore, the Court reasoned, that analogy compels the conclusion that the relief available to

   private plaintiffs for Rehabilitation Act and ACA claims are limited to “the usual contract

   remedies in private suits.” Id. at 1571 (emphasis in original). And, according to the Court, it is

   well-established that those remedies do not include damages for emotional or mental distress or

   disturbance. Id. at 1571-72. As such, according to Cummings, a plaintiff pursuing a

   discrimination claim under the Rehabilitation Act and/or the ACA cannot recover damages for

   mental or emotional harm. Id.




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     The Rehabilitation Act is a precursor to Title II of the ADA, and it permits (in relevant part) a
   disabled individual to sue a government entity that accepts federal funds for disability-based
   discrimination. See Anderson v. Colo. Dep’t of Corr., 848 F. Supp. 2d 1291, 1300 n.2 (D. Colo.
   2012) (“The Rehabilitation Act is materially identical to and the model for the ADA[;] the
   elements are the same except the Rehabilitation Act requires that defendant receive federal
   funds” (quotations omitted).); Rogers v. Colo. Dep’t of Corr., No. 16-CV-02733-STV, 2019 WL
   1558081, at *2 (D. Colo. Apr. 9, 2019).
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          To be sure, Cummings addressed only the Rehabilitation Act and the ACA, not Title II of

   the ADA. But Title II was not enacted in a vacuum; instead, as noted above, it was passed into

   law after the Rehabilitation Act, and the earlier statute served as a model for that part of the

   ADA. See Anderson, 848 F. Supp. 2d at 1300 n.2; Rogers, 2019 WL 1558081, at *2. That is

   reflected in the enforcement procedures authorized by Title II, which specifies in relevant part:

   “[t]he remedies, procedures, and rights set forth in [the enforcement provision of the

   Rehabilitation Act] shall be the remedies, procedures, and rights this subchapter provides to any

   person alleging discrimination on the basis of disability in violation of [the anti-discrimination

   provision] of [Title II].” 42 U.S.C. § 12133.

          In other words, Title II of the ADA expressly incorporates the remedy provision in the

   Rehabilitation Act, and whatever remedies are authorized by the latter – and only those remedies

   – are available under the former. See Johnson v. Ed Bozarth No. 1 Park Meadows Chevrolet,

   Inc., 297 F. Supp. 2d 1286, 1289-90 (D. Colo. 2004); Mullen v. Bd. of Commissioners of the Cty.

   of Adams, No. 1:21-CV-02398-CNS-MDB, 2022 WL 17261428, at *3 (D. Colo. Nov. 29, 2022)

   (“Title II ‘incorporates the remedies, procedures, and rights” of § 794a of the Rehabilitation

   Act….’”) (internal citation omitted); see also Tyler v. City of Manhattan, 118 F.3d 1400, 1408

   (10th Cir. 1997) (Jenkins, J, dissenting) (noting same).

          Extrapolating from those principles, if the remedies for disability-based discrimination

   under Title II of the ADA are limited to the remedies authorized under the Rehabilitation Act,

   and if – as recently held by the Supreme Court – the remedies authorized under the

   Rehabilitation Act do not include damages for mental or emotional harm, then the only logical

   conclusion is that a Title II plaintiff cannot recover for those sorts of mental or emotional


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   injuries, either. And although no circuits or district courts within the Tenth Circuit have

   addressed that issue yet, in the handful of months since Cummings was handed down, a number

   of district courts around the country have, and they are virtually unanimous in their conclusion

   that the Supreme Court’s decision effectively precludes the recovery of damages for mental or

   emotional distress or disturbance for a Title II disability-based discrimination claim. See, e.g.,

   A.W. by & through J.W.; E.M. by & through B.M; M.F. by & through J.C.; & D.G. by & through

   D.G. v. Coweta County School District & Christi Hildebrand, No. 3:21-CV-218-TCB, 2022 WL

   18107097, at *3 (N.D. Ga. Nov. 16, 2022) (cataloguing decisions from five other district courts

   concluding that Cummings applies to Title II claims, and noting that “[p]laintiffs have not

   pointed to, nor is the Court aware of, a case post-Cummings reaching a different conclusion”);

   Faller v. Two Bridges Reg’l Jail, No. 2:21-CV-00063-GZS, 2022 WL 17260763, at *1 (D. Me.

   Nov. 2, 2022) (“Given this language, the Court concludes that Plaintiff cannot pursue a remedy

   on her ADA claim that is not available under Rehabilitation Act. Thus, she is foreclosed from

   recovering damages for emotional distress on both claims proceeding to trial in this matter.”);

   Hill v. SRS Distribution Inc., No. CIV 21-370-TUC-CKJ, 2022 WL 3099649, at *5 (D. Ariz.

   Aug. 4, 2022) (noting that “the Supreme Court recently held that damages for emotional distress

   are not recoverable under the Rehabilitation Act; it is therefore unlikely such damages are

   available under the ADA”); Wolfe v. City of Portland, No. 3:20-CV-1882-SI, 2022 WL 2105979,

   at *6 (D. Or. June 10, 2022) (same).

          Here, Mr. Williams appears to seek compensatory damages primarily for mental or

   emotional injury. His allegations do not identify with specificity any economic damages he

   might have suffered as a result of his allegedly being fired from the prison kitchen job where he


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   alleges he could not work and, as a result, being reclassified from medium custody to close

   custody. Because he cannot recover damages for mental or emotional injury in an ADA or

   Rehabilitation Act action, his claims must be dismissed to the extent he seeks compensatory

   damage for such injuries.

                                            CONCLUSION

          For the foregoing reasons, the CDOC respectfully requests that the Court dismiss Mr.

   Williams’s claims in part, as set forth above.

          Respectfully submitted January 24, 2023.

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                                     CERTIFICATE OF SERVICE

           This is to certify that I have duly served the within Defendant’s Partial Motion to Dismiss

   Amended Complaint (ECF No. 10) Under Fed. R. Civ. P. 12(b)(6) upon all parties herein by e-

   filing with the CM/ECF system maintained by the court this 24th day of January, 2023, which will

   send electronic notification to the following:

       Samuel D. Weiss                                           Courtesy copy e-mailed to:
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